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                    Exhibit C-15
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                               Technology



                               Academic Partnerships, University of South
                               Carolina add online oﬀerings

                                                                   By Bill Hethcock – Senior Reporter, Dallas Business Journal
                                                                   Dec 6, 2012, 10:32am EST



                               IN THIS ARTICLE             Dlls-bsed online lerning compny Acdemic
                               Education                   Prtnerships will help the University o South Crolin
                               Industry
                                                           bring undergrdute nd grdute degree progrms
                               Michael Amiridis
                               Person                      online.
                               Michael Sutton
                               Person                      Progrms rom the system’s ﬂgship reserch
                               Randy Best                  institution in Columbi s well s its senior nd
                               Person
                                                           regionl universities will be mde vilble online
                               Technology
                               Industry                    through the collbortion.

                                                           “I m excited tht USC hs chosen Acdemic
                                                           Prtnerships to help support its bold new inititives in
                                                           online lerning,” Dr. Michel Amiridis, executive vice
                                                           president or cdemic  irs nd provost o the
                                                           University o South Crolin, sid in  sttement.

                                                           A Mster’s in Engineering Mngement will be one o
                                                           the rst degrees o ered online through the new
                                                           prtnership.

                                                           “Bringing our courses online is one o the mny wys
                                                           to cultivte the next genertion o thinkers nd meet
                                                           the growing demnd or engineers,” sid Michel
                                                           Sutton,  Crolin Distinguished Proessor o
                                                           Mechnicl Engineering t the University o South
                                                           Crolin.

                                                           In ddition, Acdemic Prtnerships will ssist USC
                                                           with the design nd development o courses or
                                                           Plmetto College, the university’s new online,
                                                           bcclurete degree completion progrm scheduled
                                                           to strt in ll 2013.

                                                           Plmetto College will enble South Crolinins who
                                                           hve nished 60 hours o course work to complete 
                                                           degree in severl elds including business, criminl
                                                           justice, eduction nd nursing.

                                                           Rndy Best, chirmn o Acdemic Prtnerships, sid
                                                           the use o technology will help the University o South
                                                           Crolin’s cmpuses remin highly competitive.
                                            “The System’s interest in serving ll quli ed students
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                            the utiliztion     Filed 10/18/21
                                            o technology will helpPage
                                                                    its 3 of 6
                                            institutions ﬂourish r into the uture,” Best sid.

                                            Acdemic Prtnerships hs helped more thn 600
                                            proessors convert more thn 1,000 trditionl courses
                                            into n electronic delivery ormt nd recruited more
                                            thn 100,000 students into online degree progrms
                                            with U.S. nd interntionl prtners. The compny
                                            helps universities by providing the technology,
                                            mrketing, student recruitment nd culty support
                                            necessry to serve online students.




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